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                  EXHIBIT A
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                                                                         as coed or mixed.” The statute creates a private cause of
                        2023 WL 4661831                                  action for injunctive relief and damages for any student for
           Only the Westlaw citation is currently available.             a deprivation of an athletic opportunity or who has suffered
              United States District Court, D. Arizona.                  any direct or indirect harm as a result of a school knowingly
                                                                         violating this section.
                    Helen Doe, et al., Plaintiffs,
                                v.                                       The Motion for Preliminary Injunction asks the Court to
                 Thomas C Horne, et al., Defendants.                     enjoin enforcement of A.R.S. § 15-120.02 by Defendant
                                                                         Horne and enjoin implementation of and compliance with
                       No. CV-23-00185-TUC-JGZ                           the Act by Defendants Kyrene Middle School and The
                                   |                                     Gregory School (TGS) as to Plaintiffs. The Court has granted
                              07/20/2023                                 intervenor status to the legislators who adopted the Act.
                                                                         The Motion for Preliminary Injunction was fully briefed by
                                                                         all parties and the Intervenor Legislators (“Intervenors”).
           ORDER ON MOTION FOR PRELIMINARY                               The Court will grant the Motion for Preliminary Injunction
              INJUNCTION AND FINDINGS OF                                 pursuant to the Findings of Fact and Conclusions of Law
             FACT AND CONCLUSIONS OF LAW                                 set out below. Defendant Arizona Interscholastic Association,
                                                                         Inc.’s (“AIA”) transgender policy, allowing transgender girls
                                                                         to play on teams consistent with their gender identity,
                          INTRODUCTION                                   complies with the terms of the preliminary injunction.

      *1 Plaintiffs filed this action on April 17, 2023, seeking
     preliminary and permanent injunctive relief related to the
     implementation of A.R.S. § 15-120.02, the Save Women's              FINDINGS OF FACT AND CONCLUSIONS OF LAW
     Sports Act (“the Act”), which Plaintiffs allege precludes
     them from playing on girls’ sports teams because they               On July 10, 2023, the Court heard oral argument and took
     are transgender girls. Plaintiffs assert that they have not         evidence pertaining to Plaintiffs’ Motion for Preliminary
     undergone male puberty and do not have a competitive or             Injunction. Having heard oral argument, having examined
     physiological advantage over their non-transgender peers on         the proofs 1 offered by the parties, and having heard the
     these teams. Plaintiffs ask the Court for declaratory relief that   arguments of counsel and being fully advised herein, the
     enforcement by Defendants of Ariz. Rev. Stat. § 15-120.02           Court now finds generally in favor of Plaintiffs and against the
     violates Plaintiffs’ rights under the Equal Protection Clause of    Defendants, and hereby makes the following special Findings
     the Fourteenth Amendment to the United States Constitution,         of Fact and Conclusions of Law pursuant to the Federal Rules
     Title IX, 20 U.S.C. § 1681 et seq., the Americans with              of Civil Procedure, Rule 52(a) and (c) which constitutes the
     Disabilities Act, 42 U.S.C. § 12101, et seq., and Section 504       decision of the Court herein:
     of the Rehabilitation Act, 29 U.S.C. § 794, et seq.

     The Arizona legislature adopted A.R.S. § 15-120.02, effective
                                                                                              I. Findings of Fact
     September 24, 2022, as follows: “Each interscholastic or
     intramural athletic team or sport that is sponsored by a public      *2 To the extent these Findings of Fact are also deemed to
     school or a private school whose students or teams compete          be Conclusions of Law, they are hereby incorporated into the
     against a public school shall be expressly designated as one        Conclusions of Law that follow.
     of the following based on the biological sex of the students
     who participate on the team or in the sport: 1) ‘males,’ ‘men’
     or ‘boys’; 2) ‘females,’ ‘women’ or ‘girls,’ and 3) ‘coed’ or       A. Gender identity and gender dysphoria.
     ‘mixed’.” “Athletic teams or sports designated for ‘females,’       1. “Gender identity” is the medical term for a person's
     ‘women’ or ‘girls’ may not be open to students of the male          internal, innate, deeply held sense of their own gender. (Dr.
     sex.” The statute does not apply to “restrict the eligibility       Daniel Shumer (“Shumer Decl.”) (Doc. 5) ¶ 18.) Everyone
     of any student to participate in any... athletic team or sport      has a gender identity. (Id.)
     designated as being for males, men or boys or designated


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     2. “Gender identity” differs from “gender role,” which are
     behaviors, attitudes, and personality traits that a particular        *3 8. Gender dysphoria is highly treatable. Every major
     society considers masculine or feminine, or associates with          medical association in the United States agrees that medical
     male or female social roles. For example, the convention             treatment for gender dysphoria is necessary, safe, and
     that girls wear pink and have longer hair, or that boys wear         effective. (Budge Decl. (Doc. 4) ¶ 25; Shumer Decl. (Doc. 5)
     blue and have shorter hair, are socially constructed gender          ¶ 30.)
     roles. Gender identity does not refer to socially contingent
     behaviors, attitudes, or personality traits; it is an internal and   9. “Transgender individuals may experience ‘gender
     largely biological phenomenon. (Shumer Decl. (Doc. 5) ¶¶             dysphoria,’ which is ‘characterized by significant and
     19-22.)                                                              substantial distress as result of their birth-determined sex
                                                                          being different from their gender identity.’ ‘In order to be
     3. There is a consensus among medical organizations that             diagnosed with gender dysphoria, the incongruence must
     gender identity is innate and cannot be changed through              have persisted for at least six months and be accompanied
     psychological or medical treatments. (Dr. Stephanie Budge            by clinically significant distress or impairment in social,
     Rebuttal (“Budge Decl. (Rebuttal)”) (Doc. 65-1) ¶ 31; Dr.            occupational, or other important areas of functioning.’ If left
     Stephanie Budge (“Budge Decl.”) (Doc. 4) ¶ 21; Daniel                untreated, symptoms of gender dysphoria can include severe
     Shumer Rebuttal (“Shumer Decl. (Rebuttal)”) (Doc. 65-2) ¶¶           anxiety and depression, suicidality, and other serious mental
     54–58; Shumer Decl. (Doc. 5) ¶ 23.)                                  health issues. Attempted suicide rates in the transgender
                                                                          community are over 40%.” Hecox v. Little, 479 F. Supp. 3d
     4. When a child is born, a health care provider identifies the       930, 945-46 (D. Idaho 2020) (cleaned up), aff'd No. 20-35813,
     child's sex based on the child's observable anatomy. (Budge          2023 WL 1097255 (9th Cir. Jan. 30, 2023).
     Decl. (Doc. 4) ¶ 18; Shumer Decl. (Doc. 5) ¶ 27.) This
     identification is known as an “assigned sex,” and in most            10. The major associations of medical and mental health
     cases turns out to be consistent with the person's gender            providers in the United States, including the American
     identity. (Budge Decl. (Doc. 4) ¶ 18; Shumer Decl. (Doc. 5)          Medical Association, the American Academy of Pediatrics,
     ¶ 27.)                                                               the American Psychiatric Association, the American
                                                                          Psychological Association, and the Pediatric Endocrine
     5. The term “biological sex” is not defined in the Act, but the      Society, have endorsed medical standards of care for treating
     Court finds that as used by Defendants it is synonymous with         gender dysphoria in adolescents, which were developed by
     the term “assigned sex.” (See Declaration of Dr. James M.            the World Professional Association for Transgender Health
     Cantor (“Cantor Decl.”) (Doc. 82-2; Doc. 92-2) ¶¶ 105-107;           (“WPATH”) and the Endocrine Society. (Shumer Decl. (Doc.
     Declaration of Dr. Gregory A. Brown (“Brown Decl.”) (Doc.            5) ¶ 31.)
     82-1; 92-1) ¶ 1; Dr. Emma Hilton (“Hilton Decl.”) (Doc.
     92-8) ¶¶1.8, ¶ 3.1-3.2 (explaining sex is an objective feature       11. The goal of medical treatment for gender dysphoria is
     determined at the moment of conception; infants are born             to alleviate a transgender patient's distress by allowing them
     male or female, ascertainable by chromosomal analysis or             to live consistently with their gender identity. (Budge Decl.
     visual inspection at birth).) 2                                      (Doc. 4) ¶ 27; Shumer Decl. (Doc. 5) ¶ 30.)


     6. For a transgender person, that initial designation does not       12. Undergoing treatment to alleviate gender dysphoria
     match the person's gender identity. (Budge Decl. (Doc. 4) ¶          is commonly referred to as “transition” and includes
     18; Shumer Decl. (Doc. 5) ¶ 27.)                                     one or more of the following components: (i) social
                                                                          transition, including adopting a new name, pronouns,
     7. Gender dysphoria is a serious medical condition                   appearance, and clothing, and correcting identity documents;
     characterized by significant and disabling distress due to the       (ii) medical transition, including puberty-delaying medication
     incongruence between a person's gender identity and assigned         and hormone-replacement therapy; and (iii) for adults,
     sex. (Budge Decl. (Doc. 4) ¶ 23; Shumer Decl. (Doc. 5)               surgeries to alter the appearance and functioning of primary-
     ¶ 28.) Defendant Horne and Intervenors accept that gender            and secondary-sex characteristics. (Budge Decl. (Doc. 4) ¶¶
     dysphoria is a medical condition. (Preliminary Injunction,           26– 27; Shumer Decl. (Doc. 5) ¶ 34.)
     Oral Argument: July 10, 2023).



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     13. For social transition to be clinically effective, it must       21. Jane has lived as a girl in all aspects of her life since she
     be respected consistently across all aspects of a transgender       was five years old. (J. Doe Decl. (Doc. 6) ¶ 2; Helen Doe (“H.
     individual's life. (Budge Decl. (Doc. 4) ¶ 27.)                     Doe Decl.”) (Doc. 7) ¶¶ 3, 5.)

     14. At the onset of puberty, adolescents with gender dysphoria      22. Jane was diagnosed with gender dysphoria when she was
     may be prescribed puberty-delaying medications to prevent           seven years old. (H. Doe Decl. (Doc. 7) ¶ 7.)
     the distress of developing physical characteristics that conflict
     with the adolescent's gender identity. (Budge Decl. (Doc. 4)        23. Jane has changed her name through a court order to a more
     ¶ 28; Shumer Decl. (Doc. 5) ¶ 35.)                                  traditional female name and has a female gender marker on
                                                                         her passport. (Pls. Exs. 13 (Doc. 90-1), 15 (Doc. 90-3).)
     15. For older adolescents, doctors may also prescribe
     hormone therapy to induce the puberty associated with the           24. Jane has been monitored by her doctor for signs of the
     adolescent's gender identity. (Budge Decl. (Doc. 4) ¶ 28;           onset of puberty as part of her medical treatment for gender
     Shumer Decl. (Doc. 5) ¶ 36.)                                        dysphoria. (H. Doe Decl. (Doc. 7) ¶ 11.)

     16. When transgender adolescents are provided with                  25. At an appointment on June 27, 2023, Jane's doctor
     appropriate medical treatment and have parental and societal        prescribed a Supprelin implant, which is a puberty-blocking
     support, they can thrive. (Shumer Decl. (Doc. 5) ¶ 29.)             medication. (Helen Doe (Third) (“H. Doe 3 rd Decl.”) (Doc.
                                                                         97-1) ¶ 4.)
     17. Untreated gender dysphoria can cause serious harm,
     including anxiety, depression, eating disorders, substance          26. Jane is in the process of scheduling the implant procedure
     abuse, self-harm, and suicide. (Budge Decl. (Doc. 4) ¶ 33;          for as soon as possible. (Id.)
     Shumer Decl. (Doc. 5) ¶ 28.)
                                                                         27. Accordingly, Jane has not and will not experience any of
      *4 18. Being denied recognition and support can cause              the physiological changes that increased testosterone levels
     significant harm, exacerbate gender dysphoria, and expose           would cause in a pubescent boy. (Shumer Decl. (Doc. 5) ¶ 45;
     transgender adolescents to the risk of discrimination and           Budge Decl. (Doc. 4) ¶ 28.)
     harassment. (Budge Decl. (Doc. 4) ¶¶ 33–34; Shumer Decl.
     (Doc. 5) ¶ 28.)                                                     28. Sports are very important to Jane and her parents. (J. Doe
                                                                         Decl. (Doc. 6) ¶ 5; H. Doe Decl. ¶ 12.)
     19. Attempts to “cure” transgender individuals by forcing
     their gender identity into alignment with their birth sex           29. Jane particularly loves playing soccer and has played
     are harmful and ineffective. Those practices have been              soccer on girls’ club and recreational sports teams for nearly
     denounced as unethical by all major professional associations       five years. (J. Doe Decl. (Doc. 6) ¶¶ 6–8; H. Doe Decl. (Doc.
     of medical and mental health professionals, such as the             7) ¶ 12.)
     American Medical Association, the American Academy of
     Pediatrics, the American Psychiatric Association, and the           30. Aside from its physical and emotional health benefits,
     American Psychological Association, among others. (Shumer           soccer has helped Jane make new friends and connect with
     Decl. (Doc. 5) ¶ 25.)                                               other girls. (J. Doe Decl. (Doc. 6) ¶ 7; H. Doe Decl. (Doc. 7)
                                                                         ¶ 13.)

     B. Plaintiffs are transgender girls who have not and will
                                                                         31. Jane's teachers, coaches, friends, and members of her
     not experience male puberty.
                                                                         soccer team have all been supportive of Jane's identity. (H.
     20. Plaintiff Jane Doe is an 11-year-old transgender girl who
                                                                         Doe Decl. (Doc. 7) ¶ 9; Stipulation in Lieu of Answer
     will attend Kyrene Aprende Middle School beginning on July
                                                                         (“Kyrene/Toenjes Stip.”) (Doc. 59) ¶ 1.)
     19, 2023. (Jane Doe (“J. Doe Decl.”) (Doc. 6) ¶ 1; Helen Doe
     (Second) (“H. Doe 2 nd Decl.”) (Doc. 78) ¶ 3.)                      32. When Jane enters Kyrene Aprende Middle School this
                                                                         July, she intends to participate and compete with the cross-
                                                                         country team and try out for the girls’ soccer and basketball



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     teams. (J. Doe Decl. (Doc. 6) ¶ 9; H. Doe 2 nd Decl. (Doc.            Ex. 14 (Doc. 90-2).) She also has a female gender marker on
     78) ¶ 4.)                                                             her passport. (Pls.’ Ex. 16 (Doc. 90-4).)


     33. Both the soccer and basketball teams at Kyrene Aprende            46. Megan was diagnosed with gender dysphoria when she
     Middle School have separate teams for boys and girls. (J. Doe         was ten years old. (K. Roe Decl. (Doc. 9) ¶ 6.)
     Decl. (Doc. 6) ¶ 9.)
                                                                           47. Before starting school at TGS, Megan's parents shared
     34. The cross-country team trains together, but boys and girls        with administrators and teachers at the school that Megan is
     compete separately. (Id.)                                             a transgender girl. (M. Roe Decl. (Doc. 8) ¶ 5.) TGS has been
                                                                           very supportive of Megan and her identity. (Id.; Defendant
     *5 35. Registration for the cross-country team began on July          TGS Motion to Dismiss (“TGS Mot. to Dismiss”) (Doc. 37)
                                                                           at 3.)
     1, 2023. (H. Doe 2 nd Decl. (Doc. 78) ¶ 6.)

                                                                           48. Megan has been taking puberty blockers since she was
     36. The registration occurs online and involves the
                                                                           11 years old as part of her medical treatment for gender
     submission of registration forms and supporting documents,
                                                                           dysphoria. (M. Roe Decl. (Doc. 8) ¶ 6; K. Roe Decl. (Doc. 9)
     such as a physical report signed by a doctor. (Id.)
                                                                           ¶ 6.) This prevented Megan from undergoing male puberty.
                                                                           (K. Roe Decl. (Doc. 9) ¶ 6.)
     37. Typically, a student's registration takes at least two to three
     days to process after it is submitted. (Id.)
                                                                           49. Megan began receiving hormone therapy when she was
                                                                           12 years old. (M. Roe Decl. ¶ 6; K. Roe Decl. (Doc. 9) ¶ 6.)
     38. The first practice for cross country is on July 31, 2023, and
     the first cross-country competitive meet will occur the week
                                                                           50. As a result of the puberty blockers and hormone therapy,
     of August 14, 2023. (Id. ¶ 7.)
                                                                           Megan has not experienced the physiological changes that
                                                                           increased testosterone levels would cause in a pubescent boy.
     39. Jane is excited to participate and compete on the girls’
                                                                           (K. Roe Decl. (Doc. 9) ¶ 6; Shumer Decl. (Doc. 5) ¶ 47; Budge
     teams with her friends and peers. (J. Doe Decl. (Doc. 6) ¶¶
                                                                           Decl. (Doc. 4) ¶ 29.)
     8–9.)

                                                                           51. The hormone treatment that she has received has
     40. If not for the Act, the Kyrene School District would permit
                                                                           caused Megan to develop many of the physiological changes
     Jane Doe to play on girls’ sports teams. (Kyrene/Toenjes Stip.
                                                                           associated with puberty in females. (Shumer Decl. (Doc. 5) ¶
     (Doc. 59) ¶ 1.)
                                                                           47; see also Budge Decl. (Doc. 4) ¶ 29.)

     41. However, if the Act is applied to Jane, she will not be able
                                                                           52. Sports have always been a part of Megan's life. (M. Roe
     to play on the girls’ soccer and basketball teams or compete
                                                                           Decl. (Doc. 8) ¶ 4.)
     with the girls’ cross-country team. (Id.)

                                                                           53. When she was about seven years old, Megan joined a
     42. Plaintiff Megan Roe is a 15-year-old transgender girl who
                                                                           swim team. (K. Roe Decl. (Doc. 9) ¶ 7.)
     attends TGS. (Megan Roe (“M. Roe Decl.”) (Doc. 8) ¶¶ 2, 5.)

                                                                           54. The coach of the swim team was supportive of Megan and
     43. Megan has always known she is a girl. (Kate Roe (“K.
                                                                           her gender identity. (Id.)
     Roe Decl.”) (Doc. 9) ¶ 3.)

                                                                           55. Megan intends to try out for the girls’ volleyball team at
     44. Megan has lived as a girl in all aspects of her life since
                                                                           TGS for this year's fall season. (M. Roe Decl. (Doc. 8) ¶ 7.)
     she was seven years old. (M. Roe Decl. (Doc. 8) ¶ 3; K. Roe
     Decl. (Doc. 9) ¶¶ 4–5.)
                                                                            *6 56. Volleyball is an important part of the TGS community
                                                                           and many students attend the games. (M. Roe Decl. (Doc. 8)
     45. Through a court order, Megan has changed her name to a
                                                                           ¶ 8; K. Roe Decl. (Doc. 9) ¶ 8.)
     more traditional female name and her gender to female. (Pls.’




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     57. Megan is excited to play on the girls’ volleyball team with       they were transgender. (Compl. (Doc. 1) ¶ 21; AIA Answer
     her friends. (M. Roe Decl. (Doc. 8) ¶ 7; K. Roe Decl. (Doc.           (Doc. 50) ¶ 21; AIA Transgender Policy § 41.9 (Doc. 51-1).)
     9) ¶ 8.)
                                                                           65. Under the AIA policy, a student request to play on a team
     58. Megan's teammates, coaches, and school are highly                 consistent with his or her gender identity is reviewed by a
     supportive of her and would welcome her participation on the          committee of medical and psychiatric experts, and consistent
     girls’ volleyball team. (M. Roe Decl. (Doc. 8) ¶ 5; K. Roe            with AIA health and safety policy and if not motivated by an
     Decl. (Doc. 9) ¶ 5; TGS Mot. to Dismiss (Doc. 37) at 3; Dr.           improper purpose, the request is approved or denied. (AIA
     Julie Sherrill (“Sherrill Decl.”) (Doc. 37-1) ¶ 5.)                   Resp., Ex. 1 (Doc. 51-1) § 41.9.3; Consideration of Bills:
                                                                           Hearing on S.B. 1165 Before S. Comm. on Judiciary, Jan. 20,
     59. If not for the Act, TGS would permit Megan to play on             2022, 55th Leg., 2d Reg. Sess. 50:12–52 (Ariz. 2022).)
     the girls’ volleyball team. (Sherrill Decl. (Doc. 37-1) ¶ 5.)
                                                                           66. In the past 10 to 12 years, the AIA fielded approximately
     60. If the Act is applied to Megan, she will not be able to           12 requests consistent with their policy and approved seven
     compete with the girls’ volleyball team. (Id.)                        students to play on a team consistent with their gender
                                                                           identity. Consideration of Bills: Hearing on S.B. 1165 Before
     C.Prior to enactment of A.R.S. § 15-120.02, Plaintiffs                S. Comm. on Judiciary, Jan. 20, 2022, 55th Leg., 2d Reg. Sess.
     would have been allowed to play on girls’ sports teams.               52:10 (Ariz. 2022).

     61. Defendant AIA sets rules for governing interscholastic             *7 67. The parties do not provide the Court with a
     sports, grades 9-12, and cutoff age of 19, for member schools,        breakdown of the gender identity for these seven transgender
     with membership being voluntary, but compliance with AIA              students but even assuming they were all transgender
     rules being mandatory for all membership schools. (AIA                girls, the Court finds that seven students over 10 to
     Constitution; Article 2. Membership (Doc. 51-1).)                     12 years is not a substantial number, particularly when
                                                                           compared to the “roughly 170,000 students playing sports in
     62. Each school or school district set its own rules on               Arizona.” (Preliminary Injunction, Oral Argument: July 10,
     transgender students’ participation in intramural sports.             2023). 3
     (Id. ¶¶ 2.5.2–3 (vesting “[f]inal authority and ultimate
     responsibilities in all matters pertaining to interscholastic         68. Less than one percent of the population is transgender,
     activities of each school shall be vested in the                      with male and female transgender people being roughly
     school principal,” with school administration assuming                the same in number. Hecox, 479 F. Supp. 3d at 977–
     responsibility for verification of all student eligibility rules).)   78. “Presumably, this means approximately one half of
                                                                           one percent of the population is made up of transgender
     63. Prior to the enactment of the Act, A.R.S. § 15-120.02,            females. It is inapposite to compare the potential displacement
     transgender girls in Arizona were permitted to play on girls’
                                                                           allowing approximately half of the population (cisgender 4
     sports teams, under the AIA Constitution, Bylaws, Policies
                                                                           men) to compete with cisgender women, with any potential
     and Procedures § 41.9, as follows: “[A]ll students should
                                                                           displacement one half of one percent of the population
     have the opportunity to participate in Arizona Interscholastic
                                                                           (transgender women) could cause cisgender women. It
     Association activities in a manner that is consistent with their
                                                                           appears untenable that allowing transgender women to
     gender identity, irrespective of the sex listed on a student's
                                                                           compete on women's teams would substantially displace
     eligibility for participation in interscholastic athletics or in a
                                                                           female athletes.” Id. at 977-978.
     gender that does not match the sex at birth.” (AIA Resp., Ex.
     1 (Doc. 51-1).)
                                                                           69. The Arizona Bill Summary for the Act, SB 1165
                                                                           transmitted to the Governor on May 11, 2022, expressly cites
     64. By December 2018, the AIA formalized its policy to
                                                                           the AIA's “policy allowing transgender students to participate
     permit transgender students to play on teams consistent with
                                                                           in activities in a manner consistent with their gender identity.
     their gender identity so long as they had a letter of support
                                                                           (AIA Policies and Procedure, Art. 41 § 9).” (2022 Reg. Sess.
     from their parent or guardian explaining when they realized
                                                                           S.B. 1165, Bill Summary).




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     70. Despite enactment of the Act, the AIA has not changed          78. Unlike the prior case-by-case basis used to approve a
     its transgender policy. (AIA Resp. (Doc. 51) at 5.) Yet,           transgender girl's request to play on a team consistent with
     organizations like the AIA do not have discretion to disregard     her gender identity, which considered among other things
     validly enacted laws of the State of Arizona. (AIA Resp. (Doc.     the age and competitive level relevant to the request, the
     51) at 4.)                                                         Act categorically bans all transgender girls’ participation by
                                                                        requiring each team that is sponsored by a public school or
     71. The Act prohibits “any licensing or accrediting                a private school team that competes against a public-school
     organization or any athletic association or organization,”         team to be designated as “male,” “female,” or “coed,” based
     including the AIA, from “entertain[ing] a complaint,               on the “biological sex of the students who participate.” Ariz.
     open[ing] an investigation or tak[ing]any other adverse action     Rev. Stat. § 15-120.02(A).
     against a school for maintaining separate interscholastic or
     intramural athletic teams or sports for students of the female     79. The Act applies equally to kindergarten through college
     sex.” A.R.S. § 15-120.02(D).                                       teams although the problems identified as being addressed
                                                                        by the Act-- opportunity and safety-- are limited to high
     72. The Act creates a private cause of action for students         school and college sports. See e.g. Consideration of Bills:
     or schools to sue schools or organizations like the AIA if         Hearing on S.B. 1165 Before S. Comm. on Judiciary, Jan. 20,
     the school or organization violates the ban or retaliates in       2022, 55th Leg., 2d Reg. Sess., 0:9:56 (Ariz. 2022) (Sharp
     response to the reporting of a violation of the Act. A.R.S. §      testimony explaining problem being addressed is AIA policy
     15-120.02(F)-(G).                                                  that allows males in a matter of weeks to dominate a sport,
                                                                        break a girl's record, and cause a girl to lose her championship
                                                                        or scholarship opportunity); same at 1:24:00 (Sen. Burley
     D. A.R.S. § 15-120.02 prevents Plaintiffs from playing on          explanation for vote “yea” to protect integrity of high school
     girls’ sports teams at their schools.                              sports by preventing victimization of girls that are trying to
     73. On March 30, 2022, Arizona enacted the Act (S.B. 1165),
                                                                        compete for sports scholarships). 5
     with an effective date of September 24, 2022. Ariz. Rev. Stat.
     § 15-120.02.
                                                                        80. “Biological sex” is not defined in the statute. Ariz.
                                                                        Rev. Stat. § 15-120.02. However, the S.B. 1165 Legislative
     74. As of the effective date of the Act, School Year 2022-23,
                                                                        Findings state that for purposes of school sports, a student's
     first quarter (July-September) sports, including volleyball,
                                                                        sex is determined at “fertilization and revealed at birth, or,
     were almost over. Second quarter (October-December) girls’
                                                                        increasingly, in utero.” S.B. 1165, 55th Leg., 2d Reg. Sess.
     sports are softball and soccer. The Third quarter (January-
                                                                        (Ariz. 2022), § 2.
     March) sports for girls, includes basketball. The Fourth
     quarter (March-May) sport is track and field.
                                                                        81. The Act states that “athletic teams or sports designated for
                                                                        ‘females’, ‘women’ or ‘girls’ may not be open to students of
      *8 75. In School Year 2022-23, Megan was allowed to
                                                                        the male sex.” Ariz. Rev. Stat. § 15-120.02 (B).
     practice as a member of the team, but not allowed to
     participate in TGS interscholastic competitions (games).
                                                                        82. The Act was adopted for the purpose of excluding
     (TGS Mot. to Dismiss (Doc. 37) at 3, n3.)
                                                                        transgender girls from playing on girls’ sports teams. See,
                                                                        e.g. Consideration of Bills: Hearing on S.B. 1165 Before S.
     76. In School Year 2022-23, Jane played soccer but not at her
                                                                        Comm. on Judiciary, Jan. 20, 2022, 55th Leg., 2d Reg. Sess.,
     elementary school because it did not have a school team; she
                                                                        1:17:32–39 (Ariz. 2022) (statement of Sen. Vince Leach,
     will attend Kyrene Middle School for the first time this year.
                                                                        Member, S. Comm. on Judiciary) (explaining his vote for the
     (Preliminary Injunction, Oral Argument: July 10, 2023).
                                                                        bill by stating, “if we allow transgenders to take over female
                                                                        sports, you will not have females participating”); 1:28:28–
     77. The Court finds that the challenged conduct, passage of
                                                                        55 (statement of Sen. Warren Petersen, Chairman, S. Comm.
     the Act precluding transgender girls from playing on girls’
                                                                        on Judiciary) (questioning whether those opposing the bill
     sports teams, occurred at a time when the Plaintiffs had an
                                                                        would “be opposed to having just a trans league, so that
     opportunity to play on girls’ sports teams consistent with their
                                                                        they can all compete in their own league”); (Pls.’ Ex. 25,
     gender identity.
                                                                        Gov. Douglas Ducey Signing Letter) (“S.B. 1165 creates



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     a statewide policy to ensure biologically female athletes        87. The record does not support a finding that during the 10
     at Arizona public schools, colleges, and universities have       to 12 years prior to passage of the Act there was a risk of any
     a level playing field to compete….This legislation simply        physical injury to or missed athletic opportunity by any girl as
     ensures that the girls and young women who have dedicated        a result of allowing seven transgender girls to play on sports
     themselves to their sport do not miss out… due to unfair         teams consistent with their gender identity.
     competition.”)

      *9 83. Precluding transgender girls, who have not               E. Excluding Plaintiffs from school sports causes very
     experienced male puberty, from playing girls sports, treats      serious injury to Plaintiffs
     transgender boys and transgender girls differently and treats    88. School sports offer social, emotional, physical, and mental
     boys’ and girls’ sports differently, with only girls’ teams      health benefits. (Budge Decl. (Doc. 4) ¶¶ 35–38.)
     facing potential challenges, including litigation, related to
     suspected transgender players. Compare Consideration of          89. The social benefits of school sports include the
     Bills: Hearing on S.B. 1165 Before S. Comm. On Judiciary,        opportunity to make friends and become part of a supportive
                                                                      community of teammates and peers. (Id. ¶ 35.)
     Jan. 20, 2022, 55 th Leg., 2d Reg. Sess., 0:18:16 (inviting
     legislators to come see purported transgender girl on a team
                                                                      90. School sports provide an opportunity for youth to gain
     and describing need to challenge suspected transgender girls
                                                                      confidence and reduce the effects of risk factors that lead to
     on opposing teams) with Hecox, 479 F. Supp. 3d at 988
                                                                      increases in depression. (Id. ¶ 36.)
     (explaining all biological women are subject, in the event of
     a challenge, to the statutory verification process in order to
                                                                      91. Students who play school sports have fewer physical and
     play on a team, and this creates a different, more onerous set
                                                                      mental health concerns than those that do not. (Id. ¶ 37.)
     of rules for women's sports when compared to men's sports).

                                                                      92. Students who participate in high school sports are more
     84. Contrary to the asserted safety goal, the Act does not
                                                                      likely to finish college and participation in high school sports
     protect transgender boys— identified by Defendant Horne
                                                                      has a positive impact on academic achievement. (Id. ¶ 38.)
     and Intervenors as “biological girls.” In fact, the Act allows
     “biological girls” to play on boys’ sports teams, subjecting
                                                                      93. It would be psychologically damaging for a transgender
     them to the alleged risks of that association. This is allowed
                                                                      girl to be banned from playing school sports on equal terms
     prepuberty and without regard for whether the transgender
                                                                      with other girls. (Id. ¶ 39; Budge Decl. (Rebuttal) (Doc. 65-1)
     boy is receiving testosterone enhancements.
                                                                      ¶ 10.)

     85. The Act's creation of a private cause of action against
                                                                      94. Transgender girls will internalize the shame and stigma of
     a school for any student who is deprived of an athletic
                                                                      being excluded for a
     opportunity or suffers any harm, whether direct or indirect,
                                                                      personal characteristic (being transgender) over which they
     related to a schools’ failure to preclude participation of a
                                                                      have no control and which already subjects them to prejudice
     transgender girl on a girls’ team places an onerous burden on
                                                                      and social stigma. (Budge Decl. (Doc. 4) ¶ 40.)
     girls’ sports programs, not faced by boys’ athletic programs.

                                                                      95. For transgender girls who are already playing on girls’
     86. The record does not support a finding that prior to the
                                                                      teams, a law that requires them to be excluded from continued
     Act's enactment, there was a problem in Arizona related to
                                                                      participation on girls’ teams would have a further negative
     transgender girls replacing non-transgender girls on sports
                                                                      impact on their health and well-being, causing them to feel
     teams. Consideration of Bills: Hearing on S.B. 1165 Before
                                                                      isolated, rejected, and stigmatized, and thereby putting them
     S. Comm. on Judiciary, Jan. 20, 2022, 55th Leg., 2d Reg.
                                                                      at high risk for severe depression and/or anxiety. (Id.)
     Sess., 1:15:30–36 (Ariz. 2022) (statement of Sen. Warren
     Petersen, Chairman, S. Comm. on Judiciary) (acknowledging
                                                                       *10 96. For transgender girls, who are gender transitioning
     to another Senator that “we're not aware of a specific
                                                                      to address gender dysphoria, the benefits from playing sports
     instance” where any cisgender girl had lost a place on a team
                                                                      on teams compatible with their gender identity is important
     to a transgender girl).
                                                                      because to be clinically effective, gender transitioning must
                                                                      be respected consistently across all aspects of her life.


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                                                                         ages of about 12 through 18.” (Brown Decl. (Doc. 82-1; 92-1)
                                                                         ¶¶ 163-164.) 6
     F. Transgender girls who have not undergone male
     puberty do not have an athletic advantage over other
                                                                         *11 101. Defendants rely on school-based fitness testing
     girls.
     97. The Plaintiffs’ experts’ opinions are based on the              of boys and girls, comparisons between 10 th /50 th /90 th
     scientific consensus that the biological cause of average           percentile scores for girl and boy students ages 6 through
     differences in athletic performance between men and women           11 reflecting, for example, that 50% of 6-year-old boys
     is caused by the presence of circulating levels of testosterone     completed more laps in the 20-meter shuttle (14) than girls
     beginning with male puberty. (Shumer Decl. (Rebuttal)               (12). (Brown Decl. (Doc. 82-1; 92-1) ¶ 84.) Other fitness data
     (Doc 65-2) ¶ 8 (citing Brown Decl. ¶¶ 127–30 relying on             reflects differences between 9 through 17-year-old boys and
     Handelsman (2018) at 823 (“summarizing evidence makes it            girls, with 9-year-old boys always exceeding girls’ running
     highly likely that the sex difference in circulating testosterone   times by various percentages ranging from 11.1-15.2%, id.
     of adults explains most, if not all, of the sex differences in      ¶ 89; arm hang fitness scores (7.48 boys, 5.14 girls), id.
     sporting performance.”)); (Brown Hecox Decl. ¶¶ 20a, 25–            ¶ 92; standing broad jump (128.3 boys, 118.0 girls), id. ¶
     28, 77–85).                                                         99. (See also Brown Decl. (Doc. 82-1; 92-1) ¶106 (quoting
                                                                         Thomas 1985 study at 266) (“Boys exceed girls in throwing
     98. A large part of the record created by the Defendants            velocity by 1.5 standard deviation units as early as 4 to 7 years
     is not relevant to the question before the Court: whether           of age...” and throwing distance by 1.5 standard deviation
     transgender girls like Plaintiffs, who have not experienced         units as early as 2 to 4 years of age).) 7 (But see Shumer
     male puberty, have performance advantages that place other          Decl. (2 nd Rebuttal) (Doc. 65-2) ¶12 (opining clear scientific
     girls at a competitive disadvantage or at risk of injury. For       consensus that athletic ability does not diverge significantly
     example, Defendants submit evidence that girls have more            until puberty (citing e.g., David Handelsman, Sex Differences
     body fat than boys at birth. (Brown Decl. (Doc. 82-1; 92-1)         in Athletic Performance Emerge Coinciding with the Onset of
     ¶ 79.) Without more, this evidence is not relevant to the           Male Puberty, 87 Clinical Endocrinology 68, 70–71 (2017)
     question before the Court.                                          (“The gender divergence in athletic performance begins at the
                                                                         age of 12–13 years”); Ps Motion for PI, Jonathon W. Senefeld
     99. Defendant Horne and the Intervenors submit expert               et al., Sex Differences in Youth Elite Swimming, 14 PLOS
     declarations, including the declaration by Dr. James Cantor,        ONE 1, 1–2 (2019) (Doc. 88-2) at 42-43 (studying child
     which in large part are not relevant criticisms of medical          and youth swimmers and concluding that the data suggests
     treatments for gender dysphoria. The appropriateness of             “girls are faster, or at least not slower, than boys prior to
     medical treatment for gender dysphoria is not at issue in           the performance-enhancing effects of puberty”); M.J. McKay,
     this case. (Pls Ex. (Doc. 88-3) at 39-40 (dated March 30,           Normative reference values for strength and flexibility of 1000
     2022, describing purpose of Act to ensure a level playing by        children and adults (Doc. 88-3) at 12 (finding no significant
     preventing unfair competition in women's sports).) Protecting       (p<0.05) differences between the strength measures of boys
     transgender girls from any such risk is not a rationale or          or girls aged 3-9, except for shoulder internal rotators where
     purpose of the Act.                                                 boys were stronger).

     100. Defendants’ expert Dr. Brown admits that many of               102. The World Rugby Transgender Women's Guidelines
     the specific male physiological advantages he describes are         2020 , which Dr. Brown cites throughout his declaration,
     a result of testosterone levels in men post-puberty. This           allow transgender girls and women to participate in
     evidence is not relevant because the Plaintiffs have not            women's rugby if they did not experience endogenous male
     and never will experience male puberty. The Court is not            puberty, stating: “Transgender women who transitioned pre-
     concerned with Dr. Brown's opinion that such advantages are         puberty and have not experienced the biological effects
     not reversed by testosterone suppression after puberty or are       of testosterone during puberty and adolescence can play
     reduced only modestly, leaving a large advantage over female        women's rugby.” (Pls.’ Ex. 24 (Doc. 88-3); Shumer Decl.
     athletes. Dr. Brown agrees it is well documented that the large
                                                                         (2 nd Rebuttal) (Doc. 113) ¶ 35.)
     increases in physiological and performance advantages for
     men result from increases in circulating testosterone levels
     that males experience in puberty, “or generally between the


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     103. The physical fitness data relied on by Defendant                minor differences in physical fitness scores for prepuberty
     Horne and Intervenors merely observes phenomena across a             boys compared to girls reflect a significant athletic advantage
     population sample in isolated areas and does not determine           of boys over girls, prepuberty. There are many other reasons
     a cause for what is observed. There is no basis for these            why boys’ and girls’ sports teams are separated:
     experts to attribute those small differences to physiology or
     anatomy instead of to other factors such as greater societal
     encouragement of athleticism in boys, greater opportunities          (1) women historically were deprived of athletic opportunities
     for boys to play sports, or differences in the preferences           in favor of men; (2) as a general matter, men had equal athletic
     of the boys and girls surveyed. (Dr. Linda Blade (“Blade             opportunities to women; and (3) according to stipulated
     Decl.”) at 7–9; Hilton Decl. (Doc. 92-8) ¶¶ 7.3–7.5; Shumer          facts, average physiological differences meant that “males
                                                                          would displace females to a substantial extent” if permitted
     Decl. (2 nd Rebuttal) (Doc. 113) ¶¶ 21, 46.) The Court finds
                                                                          to play on women's teams. See Hecox, 479 F. Supp. 3d at
     that transgender girls, who are being raised in conformance
                                                                          976 (distinguishing Clark by and Through Clark v. Arizona
     with their gender identity, will be subject to the same social/
     cultural factors that girls face that correlates to lower physical   Interscholastic Ass'n, 695 F.2d 1126 (9 th Cir. 1982) finding
     fitness scores.                                                      these factors do not apply for transgender women).
                                                                          108. Defendants ask the Court to rely on evidence they
     104. There is no evidence to support Dr. Hilton's opinion            allege supports separating sports teams by sex to conclude
     that girls have “delicate brain structures” making them              that transgender girls, who have not experienced puberty,
     prone to injury; brain MRIs reveal no differences based on           should not play on girls’ teams solely because they are boys,
                                                                          regardless of whether they have experienced puberty.
     sex, except for size. (Shumer Decl. (2 nd Rebuttal) (Doc.
     113) ¶ 40.) Evidence suggests the difference between male
                                                                          109. The Court will not make this leap because Plaintiffs
     and female sports’ concussions occurs because girls, post-
                                                                          present expert evidence that any prepubertal differences
     puberty, have weaker neck muscles than boys. (Shumer Decl.
                                                                          between boys and girls in various athletic measurements are
     (2 nd Rebuttal) (Doc. 113) ¶ 41 (citing Abigail C. Bretzin et        minimal or nonexistent. (Shumer Decl. (Rebuttal) (Doc. 65-2)
     al., Association of Sex with Adolescent Soccer Concussion            ¶ 5) (citing Alison McManus & Neil Armstrong, Physiology
     Incidence and Characteristics, 4 JAMA Network Open 4,                of elite young female athletes, 56 Medicine & Science Sports
     6 (2021); Ryan T. Tierney et al., Gender Differences in              & Exercise 23, 24 (2011) (“Prior to 11 years of age differences
     Head-Neck Segment Dynamic Stabilization During Head                  in average speed are minimal”); id. at 27 (“[S]mall sex
     Acceleration, 37 Med. & Sci. Sports & Exercise 272, 272              difference in fat mass and percent body fat are evident from
     (2005)).                                                             mid-childhood”); id. at 29 (“[B]one characteristics differ little
                                                                          between boys and girls prior to puberty”); id. at 32 (“There
      *12 105. The Court rejects Dr. Hilton's idea that “sporty-          is little evidence that prior to puberty pulmonary structure
     girls” will be “as well-trained as their male peers” and,            or function limits oxygen uptake”); id. at 34 (“[N]o sex
     therefore, higher win scores at Kyrene Middle School for             differences in arterial compliance have been noted in pre- and
     boys cannot be explained by social cultural factors and              early- pubertal children”)).
     must be biological. (Hilton Decl. (Doc. 92-8) (citing Thomas
     and French, 1985, Gender differences across age in motor             110. Based on the evidence, transgender girls’ physical
     performance a meta-analysis: Psychol Bull 98(2): 260-282)).          characteristics, especially in terms of height, weight, and
                                                                          strength, overlap with those of other girls. In other words,
     106. Height differences in babies are negligible, with               some girls may be taller than average, and some transgender
     differences disappearing altogether between ages 6 and               girls may be taller than average. The rationale for excluding
     8 but reappearing when girls enter puberty and overtake              transgender girls with above average physical characteristics
     boys in height and weight for a few years until boys                 is equally applicable to excluding taller than average girls, but
     experience puberty and grow taller on average than girls/            height, weight, or strength factors are not used at any level of
     women. (Shumer Decl. (2 nd Rebuttal) (Doc. 113) ¶¶ 12-15.)           competition to protect girls or women athletes. (Shumer Decl.
                                                                          (2 nd Rebuttal) (Doc. 113) ¶¶ 42-43; see also Hecox, 479 F.
     107. The Plaintiffs do not challenge the existence of separate       Supp. 3d at 980 (describing evidence of similar bell curve
     teams for girls and boys. Defendants do not explain why the          differences for transgender women, who have gone through



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     male puberty and are using gender affirming interventions,        117. A transgender girl who receives hormone therapy will
     including lowering testosterone as “a transgender woman           typically have the same levels of circulating estrogen and
     who performed 80% as well as the best performer among men         testosterone as other girls. (Shumer Decl. (Doc. 5) ¶ 36.)
     of that age before transition would also perform at about 80%
     as well as the best performer among women of that age after       118. Knowing that a girl is transgender, if she has not gone
     transition.”)                                                     through male puberty, reveals nothing about her athletic
                                                                       ability. (Shumer Decl. (2 nd Rebuttal) (Doc. 113) ¶ 31, 48;
      *13 111. The categorical preclusion of transgender               Shumer Decl. (Rebuttal) (Doc. 65-2) ¶¶ 26–27; Shumer Decl.
     women, especially girls who have not experienced male             (Doc. 5) ¶ 42.)
     puberty, appears unrelated to the interests the Act
     purportedly advances. A “justification must be genuine, not       119. Similarly, transgender girls who have not yet undergone
     hypothesized.” United States v. Virginia, 518 U.S. 515, 533       male puberty or who have received puberty-blocking
     (1996). The proponents of the Act fail to provide persuasive      medication at the onset of puberty do not present any unique
     evidence of any genuine, not hypothesized problem. Hecox,
                                                                       safety risk to other girls. (Shumer Decl. (2 nd Rebuttal) (Doc.
     479 F. Supp. 3d at 979.
                                                                       113) ¶¶ 25, 36; Shumer Decl. (Rebuttal) ¶ 41.)

     112. Before puberty, there are no significant differences in
                                                                       120. In short, transgender girls, who have not experienced
     athletic performance between boys and girls. (Shumer Decl.
                                                                       male puberty, play like girls. There is no logical connection
     (2 nd Rebuttal) (Doc. 113) ¶ 16; Shumer Decl. (Rebuttal)          between prohibiting them from playing on girls’ sports teams
     (Doc. 65-2) ¶¶ 9–13; Shumer Decl. (Doc. 5) ¶ 38; Pls.’ Exs.       and the goals of preventing unfair competition in girls’ sports
     19–20, 22–23 (Doc. 88-2).)                                        or protecting girls from being physically injured by boys.

     113. After puberty, adolescent boys begin to produce higher
     levels of testosterone, which over time causes them to            G. Plaintiffs cannot play on boys’ sports teams.
     become, on average, stronger and faster than adolescent girls.    121. Jane cannot play on boys’ teams or compete with the
     (Shumer Decl. (Doc. 5) ¶ 39; Pls.’ Exs. 18–19 (Doc. 88-2).)       boys because she is a girl, with athletic capabilities like
                                                                       other girls her age and different from boys her age who are
     114. The biological driver of average group differences in        beginning to experience puberty and increased testosterone
     athletic performance between adolescent boys and girls is the     levels. Jane will not experience male puberty and will
     difference in their respective levels of testosterone, which      experience female puberty. Assuming there are safety issues
     only begin to diverge significantly after the onset of puberty.   created if girls compete with boys, Jane would be subjected
     (Shumer Decl. (Rebuttal) ¶¶ 4, 8; Shumer Decl. (Doc. 5) ¶ 39;     to such risks by playing on boys’ teams.
     Pls.’ Exs. 18–19.)
                                                                        *14 122. Jane's medical health depends on her ability to live
     115. Transgender girls who receive puberty-blocking               her life fully as a girl, and playing on a boys’ sports team and
     medication do not have an athletic advantage over other           competing against boys would directly contradict her medical
     girls because they do not undergo male puberty and do not         treatment for gender dysphoria and jeopardize her health. (H.
     experience the physiological changes caused by the increased      Doe Decl. (Doc. 7) ¶ 15; Budge Decl. (Doc. 4) ¶¶ 33–34.)
     production of testosterone associated with male puberty.
     (Shumer Decl. (Rebuttal) (Doc. 65-2) ¶¶ 15–16; Shumer             123. “Participating in sports on teams that contradict one's
     Decl. (Doc. 5) ¶¶ 35, 38–42.)                                     gender identity ‘is
                                                                       equivalent to gender identity conversion efforts, which every
     116. Transgender girls who receive hormone therapy after          major medical association has found to be dangerous and
     receiving puberty-                                                unethical.’ ” Hecox, 479 F. Supp. 3d at 977.
     blocking medication will develop the skeletal structure, fat
     distribution, and muscle and breast development typical of        124. Jane would find it humiliating and embarrassing to play
     other girls. (Budge Decl. (Doc. 4) ¶ 29; Shumer Decl.             on a boys’ team because everyone at school knows her as a
     (Rebuttal) (Doc. 65-2) ¶ 22; Shumer Decl. (Doc. 5) ¶¶ 35–36.)     girl. (J. Doe Decl. (Doc. 6) ¶ 11; H. Doe Decl. (Doc. 7) ¶ 15.)




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     125. If she is not allowed to play sports on a girls’ team, Jane
     will be very upset. (J. Doe Decl. (Doc. 6) ¶ 10; H. Doe Decl.
                                                                                              II. Conclusions of Law
     (Doc. 7) ¶ 16.)
                                                                           To the extent these Conclusions of Law are also deemed to
     126. Jane will not participate in sports at all if she is forced to   be Findings of Fact, they are hereby incorporated into the
     be on a boys’ team. (J. Doe Decl. (Doc. 6) ¶ 11; H. Doe Decl.         preceding Findings of Fact.
     (Doc. 7) ¶ 15.) The last thing she wants to do is draw attention
     to herself by drawing into question her gender identity. She          134. A preliminary injunction is an “extraordinary and drastic
     wants to go to school like other girls. (Jane Decl. (Doc. 6) ¶        remedy” that is “never awarded as of right.” Munaf v. Geren,
     11.)                                                                  553 U.S. 674, 689-90 (2008) (citations omitted). Instead,
                                                                           in every case, the court must balance competing claims of
     127. Jane will also lose the opportunity to receive the               injury and must consider the effect on each party of granting
     physical, social, and emotional benefits that school sports           or withholding relief. Winter v. Natural Resources Defense
     provide. (H. Doe Decl. (Doc. 7) ¶ 16).                                Council, Inc., 555 U.S. 7 (2008).

     128. Megan cannot play on boys’ teams or compete with                  *15 135. A preliminary injunction may take one of two
     the boys because she is a girl, with athletic capabilities like       forms: 1) a prohibitory injunction prohibits a party from
     other girls her age and different from boys her age, who              taking action and “preserve[s] the status quo pending a
     have experienced puberty and increased testosterone levels.           determination of the action on the merits.” Chalk v. United
     Megan has not experienced male puberty and has experienced
                                                                           States Dist. Court, 840 F.2d 701, 704 (9 th Cir. 1988). A
     female puberty. Assuming there are safety issues created if
                                                                           mandatory injunction goes beyond simply maintaining the
     girls compete with boys, Jane would be subjected to such risks
                                                                           status quo and requires a heightened burden of proof and is
     by playing on boys’ teams.
                                                                           particularly disfavored. Marlyn Nutraceuticals, Inc. v. Mucos
                                                                           Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir. 2009)
     129. Playing on a boys’ team would directly conflict with
                                                                           (citing Anderson v. United States, 612 F.2d 1112, 1114 (9th
     Megan's medical treatment for gender dysphoria, and her
                                                                           Cir. 1980)).
     medical health depends on her ability to live her life fully as
     a girl. Playing on a boys’ team would be emotionally painful
                                                                           136. “Status quo” for the purpose of an injunction “refers to
     and humiliating for her. (M. Roe Decl. (Doc. 8) ¶ 9; K. Roe
                                                                           the legally relevant relationship between the parties before the
     Decl. (Doc. 9) ¶ 10.)
                                                                           controversy arose.” Arizona Dream Act Coal. v. Brewer, 757
                                                                           F.3d 1053, 1061 (9th Cir. 2014) (emphasis in original); see
     130. “Participating in sports on teams that contradict one's
                                                                           also Regents of Univ. of California v. Am. Broad. Companies,
     gender identity ‘is equivalent to gender identity conversion
                                                                           Inc., 747 F.2d 511, 514 (9th Cir. 1984) (for purposes of
     efforts, which every major medical association has found to
                                                                           injunctive relief, the status quo means “the last uncontested
     be dangerous and unethical.’ ” Hecox, 479 F. Supp. 3d at 977.
                                                                           status which preceded the pending controversy”) (cleaned
                                                                           up).
     131. If she is not allowed to play on the girls’ volleyball team,
     Megan will not compete on the boys’ volleyball team. (M.
                                                                           137. For the purpose of issuing a preliminary injunction,
     Roe Decl. (Doc. 8) ¶ 9; K. Roe Decl. (Doc. 9) ¶ 10.)
                                                                           the Court's findings that both Jane and Megan could have
                                                                           played on girls’ sports teams last year prior to passage of the
     132. Megan will be distraught if she loses the opportunity to
                                                                           Act, cannot play on sports teams consistent with their gender
     try out for the girls’ volleyball team. (K. Roe Decl. (Doc. 9)
                                                                           identity now, and want to participate in girls’ sports programs
     ¶ 11.)
                                                                           at Kyrene Middle School and TGS this year, warrant issuance
                                                                           of a mandatory prohibitory injunction to preserve the status
     133. Megan will also lose the opportunity to receive the
                                                                           quo.
     physical, social, and emotional benefits that school sports
     provide. (Id. ¶ 9.)
                                                                           138. The purpose of a preliminary injunction or temporary
                                                                           restraining order is to preserve the status quo if the balance
                                                                           of equities so heavily favors the moving party that justice


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     requires the court to intervene to secure the positions until the   that discriminate based on race or national origin typically
     merits of the action are ultimately determined. University of       reflect prejudice. City of Cleburn v. Cleburn Living Center,
     Texas v. Camenisch, 451 U.S. 390, 395 (1981).                       473 U.S. 432, 440 (1985).

     139. A party seeking a preliminary injunction must establish        144. The least stringent level of scrutiny is rational basis
     that: (1) they are likely to succeed on the merits of their         review, which is applied to laws that impose a difference
     claims; (2) they are likely to suffer irreparable harm in the       in treatment between groups but do not infringe upon a
     absence of preliminary relief; (3) the balance of equities tips     fundamental right or target a suspect or quasi-suspect class.
     in their favor; and (4) an injunction is in the public interest.    Heller v. Dow, 509 U.S. 312, 319-321 (1993).
     Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131
     (9th Cir. 2011).                                                    145. Heightened scrutiny is an intermediate scrutiny, a
                                                                         slightly less stringent standard than strict scrutiny, but greater
     140. When the government is a party, the third and fourth           than rational basis review. Craig v. Boren, 429 U.S. 190, 197
     factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009);            (1976); Virginia, 518 U.S. at 533. Heightened scrutiny applies
     Porretti v. Dzurenda, 11 F.4th 1037, 1050 (9th Cir. 2021).          to statutes that discriminate on the basis of sex, a quasi-
                                                                         suspect classification. “ ‘The purpose of this heightened level
                                                                         of scrutiny is to ensure quasi-suspect classifications do not
     A. Likelihood of success on the merits. Equal Protection            perpetuate unfounded stereotypes or second-class treatment.’
     Clause Claim                                                        ” Hecox, 479 F. Supp. 3d at 973 (quoting Latta v. Otter
     141. There is a strong presumption that gender classifications      (Latta I), 19 F. Supp. 3d 1054, 1073 (D. Idaho), aff'd, 771
     are invalid and the burden rests on the state to justify the        F.3d 456 (9th Cir. 2014) (citing Virginia, 518 U.S. at 533)).
     classification. Virginia, 518 U.S. at 533. This burden tracks       To withstand heightened scrutiny, a classification by sex
     for purposes of considering the likelihood of the merits of the     “must serve important governmental objectives and must
     Plaintiffs’ claim. Defendants must show that it is “more likely     be substantially related to achievement of those objectives.”
     than not” that the Act is constitutional. Gonzales v. O Centro      Craig, 429 U.S. at 197.
     Espirita Beneficente Uniao de Vegetal, 546 U.S. 418, 429–30
     (2006) (finding evidentiary equipoise insufficient and issuing      146. Laws that discriminate against transgender people are
     a preliminary injunction).                                          sex-based classifications and, as such, warrant heightened
                                                                         scrutiny. See Karnoski v. Trump, 926 F.3d 1180, 1200–
     142. The Supreme Court has addressed the Defendants’                01 (9th Cir. 2019) (analyzing a policy barring transgender
     concern that legislation must be written for the population         people from military service as sex-based discrimination and
     generally, therefore, “most legislation classifies for one          applying heightened scrutiny); see also D.T. v. Christ, 552 F.
     purpose or another, with resulting disadvantage to various          Supp. 3d 888, 896 (D. Ariz. 2021) (“Discrimination against
     groups or persons.” Hecox, 479 F. Supp. 3d at 972);                 transgender people is discrimination based on sex; as such,
     (Preliminary Injunction, Oral Argument: July 10, 2023).             heightened scrutiny applies.”).
     There are three tiers of judicial scrutiny depending on the
     characteristics of the disadvantaged group or the rights            147. Defendant Horne's and Intervenors’ argument that the
     implicated by the classification. Hecox, 479 F. Supp. 3d at         Act does not mention transgender girls and, therefore, does
     972.                                                                not discriminate based on transgender status or gender
                                                                         identity fails. The Act's disparate treatment of transgender
      *16 143. When the state restricts an individual's access to        girls because they are transgender is clear on the face of
     a fundamental right, the policy must withstand the strictest        the statute and makes it facially discriminatory even if the
     of scrutiny. San Antonio Indep. Sch. District. v. Rodriguez,        statute does not expressly employ the term “transgender”.
     411 U.S. 1, 16-17 (1973). Access to interscholastic sports is       See e.g. Hecox, 479 F. Supp. 3d at 975 (rejecting defendants’
     not a constitutionally recognized fundamental right. Walsh          argument that similar Idaho statute “does not ban athletes
     v. La High Sch. Athletic Ass'n, 616 F.2d 152, 159-60 (5 th          on the basis of transgender status, but rather on the basis
     Cir. 1980). Strict scrutiny also applies if a government            of the innate physiological advantages males generally have
     policy discriminates against a suspect class such as race,          over females”); A.M., 617 F. Supp. 3d at 965–66 (holding
     alienage, and national origin because government policies           that a virtually identical Indiana statute discriminated



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     against transgender individuals despite not using the term            rules excluding males from participating on female teams.
     “transgender”); B.P.J. v. W. Va. State Bd. of Educ., 550 F.           Clark, 695 F.2d at 1131.
     Supp. 3d 347, 353–54 (S.D. W. Va. 2021) (holding that a
     virtually identical West Virginia statute “discriminates on the       153. However, the well-established scientific consensus is
     basis of transgender status”), B. P. J. v. W. Virginia State Bd. Of   that, before puberty, there are no significant physiological
     Educ., No. 2:21-CV-00316, 2023 WL 111875, at *6 (S.D.W.               differences in athletic performance between boys and girls.
     Va. Jan. 5, 2023) (cleaned up), stayed pending appeal B.P.J.          Instead, there is overlap between the sexes, with some
     v. W. Virginia State Bd. of Educ., No. 23-1078, 2023 WL               boys being better athletically than some girls and some
     2803113, at *1 (4th Cir. Feb. 22, 2023).                              girls outplaying some boys. There is also no evidence that
                                                                           transgender girls who do not undergo male puberty because
      *17 148. The Arizona legislature intentionally created a             they have taken puberty suppressing medication at the onset
     classification, specifically “biological girls,” that necessarily     of male puberty have an athletic advantage over other
     excludes transgender girls, and expressly allowed only that           girls. There are no studies that have documented any such
     exclusive classification to play girls sports to the exclusion of     advantage, and there is no medical reason to posit that any
     transgender girls.                                                    such advantage would exist. (Id. ¶ 26.)

     149. The legislative history demonstrates that the purpose            154. The testimony by Drs. Brown and Hilton that boys
     of the Act is to exclude transgender girls from girls’ sports         have some biological advantages related to physical fitness
     teams. Therefore, the Court applies heightened scrutiny to the        before puberty does not support a conclusion that Plaintiffs,
     Act, does not make a presumption of constitutionality, and            who have not experienced male puberty, have any athletic
     does not defer to legislative judgment. SmithKline Beecham            advantage over other girls or pose a safety risk to other girls
     Corp. v. Abbott Laboratories, 740 F.3d 471, 483 (9 th Cir.            by playing on girls’ sports teams.
     2014).
                                                                           155. Defendant Horne and Intervenors discuss Clark, 695
     150. Plaintiffs Jane and Megan are transgender girls, members         F.2d at 1131, throughout their briefs but Clark strongly
     of a quasi-protected class. The Court applies heightened              supports Plaintiffs. In Clark, the Ninth Circuit held that it
     scrutiny in this case, placing the burden on the government to        was lawful to exclude boys from girls’ volleyball teams
     show “an exceedingly persuasive justification” for the alleged        because: (1) women had historically been deprived of athletic
     discriminatory treatment, Virginia, 518 U.S. at 531, which            opportunities in favor of men; (2) as a general matter, men
     must not be based on “generalizations” or “stereotypes,” id.          had equal athletic opportunities compared to women; and
     at 549–50, 565. “The justification ‘must be genuine, not              (3) according to the stipulated facts in the case, average
     hypothesized or invented post hoc in response to litigation,’         physiological differences meant that males would displace
     and ‘must not rely on overbroad generalizations about the             females to a substantial extent if permitted to play on women's
     different talents, capacities, or preferences of males and            volleyball teams. Hecox, 479 F.Supp. 3d at 1131.
     females.” Karnoski, 926 F.3d at 1200 (quoting Virginia, 518
     U.S. at 533).                                                          *18 156. None of the Clark premises hold true for
                                                                           girls who are transgender: (1) far from being favored in
     151. In applying heightened scrutiny review, the Court must           athletics, “women who are transgender have historically been
     examine the Act's “ ‘actual purposes and carefully consider           discriminated against;” (2) transgender women—unlike the
     any resulting inequality to ensure that our most fundamental          boys in Clark—would not be able to participate in any
     institutions neither send nor reinforce messages of stigma            school sports; and (3) based on the very small numbers of
     or second-class status.’ ” Latta II, 771 F.3d at 468 (quoting         transgender girls in the population, “transgender women have
     SmithKline, 740 F.3d at 483).                                         not and could not ‘displace’ cisgender women in athletics ‘to
                                                                           a substantial extent.’ ” Hecox, 479 F. Supp. 3d at 977 (quoting
     152. According to Defendants, the Act is to protect girls from        Clark, 695 F.2d at 1131). Hecox's analysis of Clark is more
     physical injury in sports and promote equality and equity in          compelling here, where Plaintiffs have not experienced male
     athletic opportunities, which are, in addition to redressing          puberty and will experience female puberty. See Hecox, 479
     past discrimination against women in athletics, considered            F. Supp. 3d at 981 (transgender girls who do not experience
     legitimate and important governmental interests justifying



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     male puberty “do not have an ascertainable advantage over             that burdens only girls’ sports programs with transgender
     cisgender female athletes”).                                          challenges, investigations, and litigation. The Act subjects
                                                                           only female athletes, transgender and otherwise, to gender
     157. Under Clark, the legislature need not pick the wisest            challenges and investigations. Boys playing on boys’ teams
     alternative for addressing a problem, but it must show that           do not have to worry about any gender challenge or
     the policy is “substantially related to the goals of providing        investigation.
     fair and equal playing opportunities for girls and protections
     to ensure the safety of girls playing sports. Clark, 695 F.2d       159. Defendant Horne and Intervenors have not established
     at 1132.                                                            that categorically banning all transgender girls from playing
                                                                         girls’ sports is substantially related to an important
     158. The Court finds that Defendant Horne and Intervenors           government interest. Virginia, 518 U.S. at 524.
     fail to produce persuasive evidence at the preliminary
     injunction stage to show that the Act is substantially related to   160. Defendant Horne's and Intervenors’ argument that the
     the legitimate goals of ensuring equal opportunities for girls      Act is necessary to protect girls’ sports by barring transgender
     to play sports and to prevent safety risks:                         girls, who purportedly have an unfair athletic advantage
                                                                         over other girls and/or pose a safety risk to other girls,
       - There is no evidence in the record that transgender girls       is based on overbroad generalizations and stereotypes that
       who have not experienced male puberty, have presented an          erroneously equate transgender status with athletic ability.
       actual problem of unfair                                          See Hecox, 479 F. Supp. 3d at 982 (holding that the asserted
                                                                         advantage between transgender and non-transgender female
       competition or created safety risks to other girls.
                                                                         athletes “is based on overbroad generalizations without
       - There is no empirical evidence in the record that               factual justification”). Therefore, the Act does not withstand
       transgender girls who have not experienced puberty, have          heightened scrutiny. Karnoski, 926 F.3d at 1200 (citing
       any physiological advantages over other girls that create         Virginia, 518 U.S. at 533).
       unfair competition for positions on girls’ sports teams and
       other athletic                                                     *19 161. Because the Court's findings of fact reflect that the
                                                                         Act's categorical bar against transgender girls’ participation
       opportunities, or pose a safety risk to other girls.              on girls’ sports teams is not a genuine justification, the
                                                                         Plaintiffs are likely to prevail on the merits. Heightened
       - The Act is overly broad, reaching sports at all grade levels,
                                                                         scrutiny requires more than a hypothesized problem. Virginia,
       including grades
                                                                         518 U.S. at 533.
       when athletes are prepuberty; it bans transgender girls, who
       have not experienced male puberty and who, instead, will          162. In fact, the Act fails even under the rational basis test
       or have experienced female puberty. “The Supreme Court            because it is not related to any important government interest.
       has long viewed with suspicion laws that rely on overbroad        “[I]f the constitutional conception of ‘equal protection of the
       generalizations about the different talents, capacities, or       laws' means anything, it must at the very least mean that a bare
       preferences of males and females.” B. P. J. 2023 WL               congressional desire to harm a politically unpopular group
       111875, at *6. Laws that discriminate based on sex must           cannot constitute a legitimate governmental interest.” United
       be backed by an “exceedingly persuasive justification.”           States Dep't of Agric. v. Moreno, 413 U.S. 528, 534 (1973).
       Virginia, 518 U.S. at 531.

       - The Act treats transgender boys and transgender girls and       Title IX Claim
       boys’ and girls’ sports                                           163. Title IX provides, in relevant part, that no person “shall,
                                                                         on the basis of sex, be excluded from participation in, be
       differently. Transgender boys who, according to                   denied the benefits of, or be subjected to discrimination under
       Defendants’ reasoning and classifications are “biological         any education program or activity receiving Federal financial
       girls”, are allowed to play on boys’ sports teams, subject to     assistance[.]” 20 U.S.C. § 1681(a).
       the alleged risks of that association which the Act proports
       to address. The Act creates a private cause of action             164. Defendants Kyrene School District (administered and
                                                                         overseen by Defendant Toenjes) and the AIA receive federal


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     financial assistance, and Defendant Horne is a grant recipient      boys’ teams because they are transgender girls who have not
     of federal funds. All Defendants must comply with Title IX's        and will not go through male puberty and will go through
     requirements. (See Compl. ¶¶ 9–13.) 8                               female puberty. Moreover, playing on a boys’ team would
                                                                         be shameful and humiliating for Plaintiffs as well as in
     165. Discriminating against an individual on the basis              direct conflict with ongoing treatment for gender dysphoria,
     of transgender status is discrimination based on sex.               a serious medical condition.
     See Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1741
     (2020) (“[I]t is impossible to discriminate against a person
     for being...transgender without discriminating against that                     B. Plaintiffs Will Suffer Irreparable
     individual based on sex.”).                                                     Harm if Relief Is Not Granted. 171.
                                                                                     Plaintiffs face irreparable harm if this
     166. The Ninth Circuit has held that discrimination                             Court does not enjoin the Act as to
     based on transgender status also constitutes impermissible                      them.
     discrimination under Title IX. See Grabowski v. Ariz. Bd. of
     Regents, 69 F.4th 1110, 1116 (9th Cir. 2023) (holding that
     Bostock Title VII case applies to Title IX); Doe v. Snyder, 28
                                                                         172. Enforcement of the Act in violation of the Equal
     F.4 th 103, 114 (9 th Cir. 2022).                                   Protection Clause in and of itself is sufficient to presume
                                                                         irreparable harm to justify a preliminary injunction.
     167. The Act discriminates against Plaintiffs based on their        Hernandez v. Sessions, 872 F.3d 976, 994–95 (9th Cir.
     status as transgender girls by providing that for purposes of       2017) (“It is well established that the deprivation of
     school sports a student's sex is fixed “at birth.” S.B. 1165,       constitutional rights unquestionably constitutes irreparable
     55 th Leg., 2d Reg. Sess. (Ariz. 2002), § 2.                        injury.”) (internal quotation marks and citation omitted);
                                                                         Hecox, 479 F. Supp. 3d at 987 (noting this “dispositive
     168. The Act's classification of all transgender girls as male      presumption”).
     and its prohibition of students who are “male” from playing
     on girls’ teams, Ariz. Stat. § 15-120.02(B), intentionally          173. A violation of Title IX also causes irreparable harm.
     excludes all transgender girls, including Plaintiffs, from          See Anders v. Cal. State Univ., Fresno, 2021 WL 1564448,
     participating on girls’ teams.                                      at *18 (E.D. Cal. Apr. 21, 2021) (finding irreparable harm
                                                                         under Title IX given the “presumption of irreparable injury
     169. Exclusion from athletics on the basis of sex is a              where plaintiff shows violation of a civil rights statute” and
     cognizable harm under Title IX because it deprives Plaintiffs       in light of “the insult that comes from unequal treatment”);
     of the benefits of sports programs and activities that their non-   Portz v. St. Cloud State Univ., 196 F. Supp. 3d 963, 973 (D.
     transgender classmates enjoy. See Grabowski, 69 F.4 th 1121–        Minn. 2016) (“Plaintiffs have a fair chance of succeeding on
     22 (holding that being removed from the team was an adverse         their Title IX claim, and Congress passed Title IX pursuant
     action under Title IX); see also A.M. by E.M. v. Indianapolis       to its power to enforce the Fourteenth Amendment. Plaintiffs’
     Pub. Sch., 617 F. Supp. 3d 950 (S.D. Ind. 2022), appeal             expectation that they may be treated unequally in violation of
     dismissed sub nom. A.M. by E.M. v. Indianapolis Pub. Sch.           Title IX's terms is an irreparable harm.”) (cleaned up).

     & Superintendent, No. 22-2332, 2023 WL 371646 (7 th Cir.
                                                                         174. Plaintiffs will also suffer severe and irreparable mental,
     Jan. 19, 2023) (granting a preliminary injunction of a similar
                                                                         physical, and emotional harm if the Act applies to them
     Indiana law that banned transgender girls from playing on
                                                                         because they cannot play on boys’ sports teams. Playing on
     girls’ sports teams based on Title IX).
                                                                         a boys’ team would directly contradict Plaintiffs’ medical
                                                                         treatment for gender dysphoria and would be painful and
      *20 170. The Court rejects Defendant Horne's and
                                                                         humiliating. Plaintiffs’ mental health is dependent on living
     Intervenors’ arguments that Plaintiffs’ schools offer teams
                                                                         as girls in all aspects of their lives.
     for both boys and girls and, therefore, Plaintiffs are not
     excluded from participating in sports on teams consistent with
                                                                         175. Enforcing the Act against Plaintiffs will effectively
     their “biological sex.” The Court's findings of fact reflect
                                                                         exclude Plaintiffs from school sports and deprive them of the
     that Plaintiffs, who are transgender girls, cannot play on
                                                                         social, educational, physical, and emotional health benefits


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     that both sides acknowledge come from school sports. This         allowing [Plaintiffs] to play on the girls’ [teams] will make
     exclusion is a cognizable harm. Grabowski, 69 F.4th at 1121.      this [purported] harm a reality.” Id. On the contrary, the record
                                                                       suggests the opposite. Based on the record for the preliminary
     176. Plaintiffs will also suffer the shame and humiliation of     injunction, the Court has found that Plaintiffs do not have a
     being unable to participate in a school activity simply because   competitive advantage over other girls, and they do not pose
     they are transgender—a personal characteristic over which         a safety risk.
     they have no control. Grimm v. Gloucester Cnty. Sch. Bd., 972
     F.3d 586, 625 (4th Cir. 2020) (explaining that the stigma of      183. But for the Act, Defendants TGS, Kyrene School
     exclusion “publicly brand[s] all transgender students with a      District, Superintendent Toenjes, and the AIA would all
     scarlet ‘T’ ”) (internal quotation marks and citation omitted).   permit Plaintiffs to play on girls’ teams.

     177. In addition, Plaintiffs will suffer the cognizable and       184. There is no evidence that any Defendant will be harmed
     irreparable “dignitary wounds” associated with the passage        by allowing Plaintiffs to continue playing with their peers as
     of a law expressly designed to communicate the state's moral      they have done until now. Hecox, 479 F. Supp. 3d at 988 (“[A]
     disapproval of their identity, wounds that “cannot always be      preliminary injunction would not harm Defendants because it
     healed with the stroke of a pen.” Obergefell v. Hodges, 576       would merely maintain the status quo while Plaintiffs pursue
     U.S. 644, 678 (2015); Hecox, 479 F. Supp. 3d at 987 (finding      their claims.”).
     such wounds constitute irreparable harm).
                                                                       185. Accordingly, the public interest and balance of equities
     178. Plaintiffs have established that they will suffer            favor a preliminary injunction.
     irreparable harm if the Act is enforced against them.


                                                                                              CONCLUSION
                 C. The Public Interest and Balance
                 of Equities Favor Injunctive Relief.                  The Court's findings of fact support Plaintiffs’ assertions that
                 179. When an injunction is sought                     very serious damages will result from a change in the status
                 against a governmental entity, the                    quo, and as a matter of law and fact, this is not a doubtful
                 public interest                                       case. See Anderson, 612 F.2d at 1114 (generally, mandatory
                                                                       injunctions require extreme or very serious damage and not
                                                                       issued in doubtful cases). Because Plaintiffs have satisfied
     *21 and balance-of-the-hardships factors merge. Nken, 556         all elements necessary to obtain a preliminary injunction, the
     U.S. at 435–36.                                                   Court grants Plaintiffs’ motion for a preliminary injunction.


     180. As an initial matter, “it is always in the public interest   The Court has the discretion to determine whether the moving
     to prevent the violation of a party's constitutional rights.”     party is required to post a bond as a condition for the
     Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).          granting of a preliminary injunction. Diaz v. Brewer, 656
                                                                       F.3d 1008, 1015 (9th Cir. 2011) (citing Johnson v. Couturier,
     181. The balance of equities favors Plaintiffs as well.           572 F.3d 1067, 1086 (9th Cir. 2009)). Here, a bond is not
     Defendant Horne and Intervenors “cannot suffer harm from          required because “there is no realistic likelihood of harm to
     an injunction that merely ends an unlawful practice.”             the defendant from enjoining his or her conduct.” Jorgensen
     Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013).        v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003).
     Plaintiffs, however, face serious and ongoing harm if the Act
     is enforced against them.
                                                                       Accordingly,
                                                                       IT IS ORDERED that the Motion for Preliminary Injunction
     182. The alleged harm to Defendants and Intervenors
                                                                       (Doc. 3) is GRANTED.
     —“that biological girls will be forced to compete against
     transgender girls who allegedly have an athletic advantage”—
                                                                       IT IS FURTHER ORDERED that Defendant Horne is
     is unsupported by the record. A.M., 617 F. Supp. 3d at
                                                                       enjoined from enforcing A.R.S. § 15-120.02 as to Plaintiffs.
     968. Moreover, there is no evidence in the record “that


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                                                                        *22 IT IS FURTHER ORDERED that the AIA
                                                                       transgender policy, § 41.9, complies with the terms of this
     IT IS FURTHER ORDERED that the Act shall not prevent
                                                                       preliminary injunction.
     Plaintiffs from participating in girls’ sports and, as agreed
     by Kyrene School District and Laura Toenjes, in her official
                                                                       Dated this 20th day of July, 2023.
     capacity, pursuant to the Stipulation in Lieu of an Answer
     (Doc. 59), and by TGS in open Court at the hearing for the
     Preliminary Injunction, the Plaintiffs shall be allowed to play   All Citations
     girls’ sports at their respective schools.
                                                                       Slip Copy, 2023 WL 4661831




                                                               Footnotes


     1      By stipulation, the parties offer proof by way of expert declarations filed in advance of the hearing and by
            supplement thereafter. Accordingly, the Court references the evidence herein by CM/ECF document number,
            not as a trial exhibit.

     2      From a medical perspective, the terms “biological sex,” “biological male,” and “biological female” are
            imprecise terms because a person's sex encompasses several different biological attributes, including sex
            chromosomes, certain genes, gonads, sex hormone levels, internal and external genitalia, other secondary
                                                                                                                      nd
            sex characteristics, and gender identity, which may or may not be in alignment. (Shumer Decl. (2 Rebuttal)
            (Doc. 113) ¶44 (citing Joshua D. Safer, Care of Transgender Persons, 381 N. Engl. J. Med. 2451 (2019)).

     3      The record is missing the relevant number of participants in girls’ sports and in sports generally over this
            same 10-to-12-year period. Based on its independent research, the Court accepts the 170,000 number as
            representing the total number of students playing sports per year because in 2018-19, there were 52,817
            girls and 68,520 boys playing sports in Arizona. https://www.statista.com/statistics/202219/us-high-school-
            athletic-participation- in-arizona.

     4      “The term ‘cisgender’ refers to a person who identifies with the sex that person was determined to have at
                                                                                                              rd
            birth.” Hecox, 479 F. Supp. 3d at 945 (relying on Doe v. Boyertown, 897 F.3d 518, 522 (3               Cir. 2018)).

     5      http: https://www.azleg.gov/videoplayer/?clientID=6361162879&eventID=2022011057

     6      A categorical bar to girls and women who are transgender stands in “stark contrast to the policies of elite
            athletic bodies that regulate sports both nationally and globally—including the National Collegiate Athletic
            Association (“NCAA”) and the International Olympic Committee (“IOC”)—which allow transgender women
            to participate on female sports teams once certain specific criteria are met,” primarily specified levels of
            circulating testosterone. Hecox, 479 F. Supp. 3d at 944.

     7      The Court does not know whether Dr. Brown's opinion that hormone and testosterone suppression cannot
            fully eliminate physiological advantages once an individual experienced male puberty has been revised
            since the peer review of the Handelsman study. See Hecox 479 F. Supp. 3d at 980 (criticizing Brown's
            opinion because not updated subsequent to peer review and noting some of the studies Dr. Brown relied
            on “actually held the opposite”).This evidence, relating to transgender girls/women who have experienced
            male puberty, is not directly relevant in this case, except to the extent the Court might extrapolate that if
            testosterone suppression in transgender females who have experienced male puberty, can bring them into
            athletic alignment with other girls/women, then preventing transgender girls from experiencing male puberty



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            in the first place would result in even greater equity. The Court does not draw such a conclusion for purposes
            of deciding the request for preliminary injunction.

     8      TGS has filed a motion to dismiss on the basis that it does not receive federal financial assistance and
            therefore is not required to comply with Title IX requirements. The Court will address this motion by separate
            order.



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